   Case 2:10-md-02179-CJB-DPC Document 1868-2 Filed 04/04/11 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

DARLEEN LEVY, WILFRED GALLARDO                                     NO.
AND MICHELLE AND MARK KURKA

VERSUS

BP EXPLORATION & PRODUCTION, INC.,                                 SECTION:
BP AMERICA PRODUCTION COMPANY, BP,
PLC, TRANSOCEAN, TLD., TRANSOCEAN                                  MAG.
OFFSHORE DEEPWATER DRILLING, INC.,
TRANSOCEAN DEEPWATER, INC., TRANSOCEAN
HOLDING, L.L.C., TRITON ASSESSET LEASING
GMBH, HALLIBURTON ENERGY SERVICES, INC.,
CAMERON INTERNATIONAL CORPORATION
F/K/A COOPER-CAMERON CORPORATION,
WEATHERFORD U.S.L.P., ANADARKO
PETROLEUM CORPORATION CO., ANADARKO
E&P COMPANY LP, MOEX OFFSHORE 2007
LLC, MOEX USA CORPORATION AND MITSUI OIL
EXPLORATION CO., LTD.

****************************************************************************

                               NOTICE OF HEARING

       PLEASE TAKE NOTICE that Plaintiffs, Darleen Levy, et al., on the 27th day of April,

2011 at 9:30 o’clock a.m., before the Honorable Carl J. Barbier, U.S. District Judge for the

Eastern District of Louisiana, 500 Camp Street, New Orleans, Louisiana, will present for hearing

their “Motion for Class Certification.”
Case 2:10-md-02179-CJB-DPC Document 1868-2 Filed 04/04/11 Page 2 of 2




                                     Respectfully submitted,


                                     S/Darleen M. Jacobs
                                     DARLEEN M. JACOBS (#7208)
                                     (NY Bar No. 2145704)
                                     A Professional Law Corporation
                                     823 St. Louis Street
                                     New Orleans, Louisiana 70112
                                     (504) 522-0155 and (504) 522-3287
                                     Counsel for Plaintiffs


                                     S/Kenneth Charbonnet
                                     KENNETH CHARBONNET (#4061)
                                     (TX Bar No. 00785576)
                                     3750 South Claiborne Ave.
                                     New Orleans, LA 70125
                                     (504) 897-3700
                                     Attorney for Plaintiffs


                                     S/Richard M. Martin, Jr.
                                     RICHARD M. MARTIN, JR. (#08998)
                                     (MS Bar No. 99627)
                                     (TX Bar No. 24026021)
                                     (District of Columbia Bar No. 466940)
                                     20 Versailles Boulevard
                                     New Orleans, LA 70125
                                     (504) 861-8476
                                     Attorney for Plaintiffs

                                     S/Steve Gordon
                                     STEVE GORDON
                                     Gordon, Elias & Seely, L.L.P.
                                     (TX Bar No. 08207980)
                                     (LA Bar No. 24109)
                                     (WA Bar No. 412407)
                                     1811 Bering Drive, Suite 300
                                     Houston, TX 77057
                                     (713) 668-9999
                                     Attorney for Plaintiffs
